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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov

In Re:
                                                    Case No. 14-38071-EPK
ROLLAGUARD SECURITY, LLC                            Chapter 7

      Debtor.
_____________________________/

   NOTICE OF FILING CORRECTED EXHIBIT B TO TRUSTEE’S MOTION FOR
    AUTHORITY TO MAKE FIRST INTERIM DISTRIBUTION TO GENERAL
                  UNSECURED CREDITORS [ECF NO. 504]

         Robert C. Furr (the “Trustee”), the duly appointed and acting Chapter 7 trustee of the

estate of Rollaguard Security, LLC (the “Debtor”), by and through undersigned counsel, files this

Notice of Filing Corrected Exhibit “B” to Trustee’s Motion for Authority to Make First Interim

Distribution to General Unsecured Creditors [ECF No. 504] (“Exhibit B”) filed on November 6,

2019. The corrected attached Exhibit B removes Proof of Claim No. 21 from the distribution chart

because it has been disallowed pursuant to Omnibus Order Granting Omnibus Motion to Approve

Settlement and Compromise with Adversary Defendants New County Motor Cars of Palm Beach,

LLC d/b/a Mercedes Benz of North Palm Beach, Glenn Goldstein, Diane Goldstein, Richard

Collins and Robin J. Collins [ECF NO. 399] entered on March 1, 2019 by this Court.

Respectfully submitted this 8th day of November 2019.

                                                    FURR AND COHEN, P.A.
                                                    Attorneys for Trustee
                                                    2255 Glades Road, Suite 301E
                                                    Boca Raton, FL 33431
                                                    (561) 395-0500/(561) 338-7582 - facsimile

                                                By:/s/ Jason S. Rigoli
                                                   Jason S. Rigoli, Esq.
                                                   Florida Bar No. 91990
                                                   E-mail: jrigoli@furrcohen.com

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                                                                                   REPORT                                                  Page 2 of 3
Case No:            14-38071-EPK                                                                                                                                        Trustee Name:         Robert C. Furr, Trustee
Case Name:          Rollaguard Security, LLC                                                                                                                            Date:                 11/6/2019

  Ref                    Claimant                      Class                                                                                            Amount Remaining                Proposed               Interest
                                                                                                                                                                                       Distribution
             Robert C. Furr, Trustee                     Trustee Compensation                                                                                      $37,177.84                $37,177.84                   $0.00
Description: Claim #: ; Distribution Dividend: 100.00; Account Number: ; Amount Allowed: 119,666.18; Dividend: 4.95; Notes: ; Amount Claimed: 119,666.18;
 2           Internal Revenue Service                    Internal Revenue Service Secured Tax Lien                                                                 $57,827.36                $57,827.36                   $0.00
Description: Claim #: 2; Distribution Dividend: 100.00; Account Number: ; Amount Allowed: 57,827.36; Dividend: 7.71; Notes: ; Amount Claimed: 57,827.36;
 2a          Internal Revenue Service                    Claims of Governmental Units - 507(                                                                       $29,551.19                $29,551.19                   $0.00
Description: Claim #: 2; Distribution Dividend: 100.00; Account Number: ; Amount Allowed: 29,551.19; Dividend: 3.94; Notes: ; Amount Claimed: 29,551.19;
 27          Palm Beach County Tax Collector             Claims of Governmental Units - 507(                                                                         $1,230.16                 $1,230.16                  $0.00
Description: Claim #: 27; Distribution Dividend: 100.00; Account Number: ; Amount Allowed: 1,230.16; Dividend: 0.16; Notes: (27-1) Tangible Personal Property Taxes; Amount Claimed: 1,230.16;
 28          Palm Beach County Tax Collector             Claims of Governmental Units - 507(                                                                         $826.53                    $826.53                   $0.00
Description: Claim #: 28; Distribution Dividend: 100.00; Account Number: ; Amount Allowed: 826.53; Dividend: 0.11; Notes: (28-1) Tangible Property Taxes; Amount Claimed: 826.53;
  1          SC Integrity, Inc.                          General Unsecured 726(a)(2)                                                                               $12,146.43                 $1,263.86                   $0.00
Description: Claim #: 1; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 12,146.43; Dividend: 0.16; Notes: ; Amount Claimed: 12,146.43;

 3           Klett, Mesches & Johnson, P.L.              General Unsecured 726(a)(2)                                                                                 $4,862.67                  $505.97                   $0.00
Description: Claim #: 3; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 4,862.67; Dividend: 0.06; Notes: (3-1) General Unsecured - Fees & Costs for Services Rendered; Amount Claimed: 4,862.67;
 5           United Parcel Service                       General Unsecured 726(a)(2)                                                                                   $16.76                      $1.74                  $0.00
Description: Claim #: 5; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 16.76; Dividend: 0.00; Notes: ; Amount Claimed: 16.76;
 6           Cohen, Norris, Wolmer, Ray, Telepman & CohenGeneral Unsecured 726(a)(2)                                                                                $7,106.00                   $739.39                   $0.00
Description: Claim #: 6; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 7,106.00; Dividend: 0.09; Notes: ; Amount Claimed: 7,106.00;
 7           Avnet Inc                                   General Unsecured 726(a)(2)                                                                               $11,039.40                 $1,148.66                   $0.00
Description: Claim #: 7; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 11,039.40; Dividend: 0.15; Notes: ; Amount Claimed: 11,039.40;
 8           John R. Erbey                               General Unsecured 726(a)(2)                                                                             $861,832.19                 $89,674.41                   $0.00
Description: Claim #: 8; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 861,832.19; Dividend: 11.95; Notes: ; Amount Claimed: 861,832.19;
  9          John R Erbey, Family Limited Partnership General Unsecured 726(a)(2)                                                                              $1,715,917.19                $178,542.72                   $0.00
Description: Claim #: 9; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 1,715,917.19; Dividend: 23.80; Notes: ; Amount Claimed: 1,715,917.19;

 12          DKT Consulting, P.A                         General Unsecured 726(a)(2)                                                                               $14,000.00                 $1,456.71                   $0.00
Description: Claim #: 12; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 14,000.00; Dividend: 0.19; Notes: ; Amount Claimed: 14,000.00;
13A          Stephen D. Pomaro                           General Unsecured 726(a)(2)                                                                           $1,000,000.00                $104,050.89            $0.00
Description: Claim #: 13; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 1,000,000.00; Dividend: 13.87; Notes: (13-1) Loan(13-2) Funds provided and settlement agreement [ECF Nos. 346, 360]; Amount Claimed: 1
 15          Croft Properties                            General Unsecured 726(a)(2)                                                                                $7,700.00                   $801.19                   $0.00
Description: Claim #: 15; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 7,700.00; Dividend: 0.10; Notes: ; Amount Claimed: 7,700.00;
 16          Eleuba Growth, LLC                          General Unsecured 726(a)(2)                                                                            $459,000.00                  $47,759.36                   $0.00
Description: Claim #: 16; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 459,000.00; Dividend: 6.36; Notes: Court Order [ECF ]; Amount Claimed: 815,957.00;
 17          Jeff Stingel                                General Unsecured 726(a)(2)                                                                             $175,175.00                 $18,227.12                   $0.00
Description: Claim #: 17; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 175,175.00; Dividend: 2.43; Notes: ; Amount Claimed: 322,654.00;
  18         WFGR INVESTMENTS LLC                      General Unsecured 726(a)(2)                                                                               $541,917.81                 $56,387.03                   $0.00
Case No:            14-38071-EPK                                                                                                                                        Trustee Name:        Robert C. Furr, Trustee
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Case Name:          Rollaguard Security, LLC                                                                                                                            Date:                11/6/2019

  Ref                    Claimant                      Class                                                                                         Amount Remaining                   Proposed             Interest
                                                                                                                                                                                      Distribution

Description: Claim #: 18; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 541,917.81; Dividend: 7.51; Notes: ; Amount Claimed: 541,917.81;
  19         Walter W. Mazzota                           General Unsecured 726(a)(2)                                                                             $190,000.00                $19,769.67                  $0.00
Description: Claim #: 19; Distribution Dividend: 10.41; Account Number: ; Amount  Allowed: 190,000.00; Dividend: 2.63; Notes: Court Order [ECF ]; Amount Claimed: 190,000.00;

 22          Dianne Goldstein                            General Unsecured 726(a)(2)                                                                              $67,000.00                 $6,971.41                  $0.00
Description: Claim #: 22; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 67,000.00; Dividend: 0.92; Notes: ; Amount Claimed: 67,000.00;
 25          Norman and Susan Thomas                     General Unsecured 726(a)(2)                                                                            $200,000.00                 $20,810.18                  $0.00
Description: Claim #: 25; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 200,000.00; Dividend: 2.77; Notes: Court Order [ECF ]; Amount Claimed: 375,000.00;
 29          Brian Dunn                                  General Unsecured 726(a)(2)                                                                             $150,000.00                $15,607.63                  $0.00
Description: Claim #: 29; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 150,000.00; Dividend: 2.08; Notes: ; Amount Claimed: 150,000.00;
 31          Denise M Exclusa                            General Unsecured 726(a)(2)                                                                                 $522.00                    $54.31                  $0.00
Description: Claim #: 31; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 522.00; Dividend: 0.00; Notes: Court Order [ECF ]; Amount Claimed: 522.00;
 32          WAYNE POIRIER                               General Unsecured 726(a)(2)                                                                             $85,000.00                  $8,844.33                  $0.00
Description: Claim #: 32; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 85,000.00; Dividend: 1.17; Notes: Court Order [ECF ]; Amount Claimed: 85,000.00;
  33         James M Dempsey                             General Unsecured 726(a)(2)                                                                             $335,137.65                $34,871.37                  $0.00
Description: Claim #: 33; Distribution Dividend: 10.41; Account Number: ; Amount  Allowed: 335,137.65; Dividend: 4.64; Notes: Court Order [ECF ]; Amount Claimed: 335,137.65;

  34         Heidi Reever                                General Unsecured 726(a)(2)                                                                                $2,800.00                  $291.34                  $0.00
Description: Claim #: 34; Distribution Dividend: 10.41; Account Number: ; Amount  Allowed: 2,800.00; Dividend: 0.03; Notes: Court Order [ECF ]; Amount Claimed: 2,800.00;

 35          Patricia A Bickford                         General Unsecured 726(a)(2)                                                                             $15,000.00                  $1,560.76                  $0.00
Description: Claim #: 35; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 15,000.00; Dividend: 0.20; Notes: Court Order [ECF ]; Amount Claimed: 15,000.00;
 36          Hal Prewitt                                 General Unsecured 726(a)(2)                                                                             $80,000.00                  $8,324.07                  $0.00
Description: Claim #: 36; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 80,000.00; Dividend: 1.10; Notes: Court Order [ECF ]; Amount Claimed: 80,000.00;
 37          Brandon Motor Cars                          General Unsecured 726(a)(2)                                                                               $55,000.00                $5,722.80                  $0.00
Description: Claim #: 37; Distribution Dividend: 10.41; Account Number: ; Amount Allowed: 55,000.00; Dividend: 0.76; Notes: (37-1) Settlement of Adversary Proceedings 16-1725; Amount Claimed: 55,000.00;
                                                                                                                                                               $6,117,786.18               $750,000.00                 $0.00
